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 5

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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:22-CR-00220 KJN
12                                Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                            FINDINGS AND ORDER
14   JEFFREY WASSON, AND                                  DATE: March 15, 2023
     MICHELINE GAGNON-TIPTON                              TIME: 9:00 a.m.
15                                                        COURT: Hon. Kendall J. Newman
                                  Defendants.
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17
                                                STIPULATION
18
            1.      By previous order, this matter was set for status on March 15, 2023.
19
            2.      By this stipulation, defendants now move to continue the status conference until March
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     29, 2023, and to exclude time between March 15, 2023, and March 29, 2023, under Local Code T4.
21
            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has produced discovery directly to counsel and/or made available
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            for inspection and copying.
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                    b)     Defense counsel requests additional time for further investigation, to review of
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            discovery, and otherwise prepare for trial.
26
                    c)     Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny them the reasonable time necessary for effective preparation, taking into
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            account the exercise of due diligence.

      STIPULATION REGARDING EXCLUDABLE TIME               1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                  d)     The government does not object to the continuance.

 2                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendant in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period of March 15, 2023 to March 29,

 7          2023, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 8          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 9          of the Court’s finding that the ends of justice served by taking such action outweigh the best

10          interest of the public and the defendant in a speedy trial.

11          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

13 must commence.

14          IT IS SO STIPULATED.

15

16
      Dated: March 14, 2023                                   PHILLIP A. TALBERT
17                                                            United States Attorney
18
                                                              /s/ HEIKO P. COPPOLA
19                                                            HEIKO P. COPPOLA
                                                              Assistant United States Attorney
20

21
      Dated: March 14, 2023                                   /s/ LINDA HARTER
22                                                            LINDA HARTER
                                                              Counsel for Defendant
23                                                            Micheline Gagnon-Tipton
24

25
      Dated: March 14, 2023                                   /s/ ETAN ZAITSU
26                                                            ETAN ZAITSU
                                                              Counsel for Defendant
27                                                            Jeffrey Wasson
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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                                           ORDER

 2        IT IS SO FOUND AND ORDERED this 14th day of March, 2023.

 3        Dated: March 14, 2023

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     STIPULATION REGARDING EXCLUDABLE TIME     3
     PERIODS UNDER SPEEDY TRIAL ACT
